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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 16-24431-CIV-ALTONAGA/McALILEY

    - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - X
    GOLTV, INC., et al.,

                        Plaintiffs,                                      REDACTED PORTIONS
                                                                         FILED UNDER SEAL AND
    vs.                                                                  EX PARTE

    FOX SPORTS LATIN AMERICA, LTD., et al.,

                         Defendants.
    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                      UNITED STATES’ MEMORANDUM OF LAW IN SUPPORT
                      OF OBJECTIONS TO CERTAIN DISCOVERY REQUESTS

                                             PRELIMINARY STATEMENT

                      The United States (the “government”), through the undersigned Special Assistant

   United States Attorneys, respectfully submits this memorandum of law in support of its objection

   to certain discovery requests by the plaintiffs in this case (the “Civil Case”) on the ground that

   plaintiffs seek certain documents, the disclosure of which would pose unwarranted risks to the

   integrity of the government’s ongoing investigation of conduct at issue in the Civil Case and in a

   series of related criminal cases, including United States v. Napout, et al., 15 CR 252 (S-2) (PKC)

   and the underlying and related indictments, in the United States District Court for the Eastern

   District of New York (collectively, the “Criminal Case”). Specifically, the government objects

   to plaintiffs’ demands that civil defendant Torneos y Competencias, S.A., (“Torneos”) produce all

   presentations and documents prepared by Torneos and provided to the United States Attorneys’

   Office for the Eastern District of New York (“EDNY”) in connection with Torneos’s cooperation

   with the government’s investigation of specified aspects of the Criminal Case. See Plaintiffs’
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   First Set of Requests For Prod. to Def. Torneos, Request No. 23. 1 For the reasons set forth below,

   the Court should sustain the government’s objection to this request for production. 2

                                           BACKGROUND

   I.     The Criminal Case

          A.      The Indictments

                  On May 20, 2015, a federal grand jury sitting in the Eastern District of New York

   returned a 47-count indictment charging 14 individuals, including civil defendants Alejandro

   Burzaco and Eugenio Figueredo, as well as Hugo and Mariano Jinkis, principals of civil defendant

   Full Play Group, S.A., with racketeering conspiracy, wire fraud, and money laundering offenses,

   among other crimes. See United States v. Webb, et al., 15-CR-252. The original indictment was

   unsealed on May 27, 2015, following the arrests of some of the charged defendants.             On

   November 25, 2015, the grand jury returned a 92-count superseding indictment charging 16

   additional defendants, including civil defendant Juan Ángel Napout, with racketeering conspiracy,

   wire fraud, and money laundering offenses, among other crimes. See United States v. Hawit, et

   al., 15-CR-252 (S-1) (PKC). The superseding indictment (hereinafter, the “Indictment”) was

   unsealed on December 3, 2015, following the arrests of certain of the newly charged defendants.

   On June 14, 2017, in anticipation of trial, the government sought and obtained a second




          1
             The government has met and conferred with the parties to the Civil Case on multiple
   occasions since the discovery hearing held on April 24, 2018, resulting in a substantial narrowing
   of the issues in dispute. The government understands that plaintiffs are now seeking, pursuant to
   their request 23(c), presentations prepared by counsel for Torneos and related materials provided
   to the government.
          2
             In accordance with the procedure discussed at the discovery hearing held on April 24,
   2018 and orally approved by the Court, without objection from the parties to the Civil Case, the
   government submits this Memorandum of Law under seal and ex parte, with a redacted version
   filed on the public docket. See Trans. dated Apr. 24, 2018, at 171-75.


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   superseding indictment against the three trial defendants then before the court – Napout, former

   Peruvian soccer official Manuel Burga, and former Brazilian soccer official José Maria Marin.

   See United States v. Napout, et al., 15-CR-252 (S-2).

                  Several of the defendants in the Criminal Case were charged with, among other

   conduct, the same conduct the Plaintiffs subsequently alleged in the initial complaint in the Civil

   Case on filed on October 20, 2016 (ECF Dkt. No. 1) and in the amended and second amended

   complaints filed on March 6, 2017 and March 13, 2018, respectively (ECF Dkt. Nos. 78 and 325)

   (collectively, the “Civil Complaint”). The plaintiffs’ pleadings in the Civil Case are expressly

   derivative of the government’s allegations in the Criminal Case, principally concerning bribery

   and corruption in connection with a series of international soccer club tournaments referred to in

   the Civil Complaint and herein as the “Club Tournaments.”            See, e.g., Second Amended

   Complaint ¶¶ 2, 3, 6, 7, 9, 11, 29, 60, 62, 66, 100, 105, 127, 135-37, 176, 261, 267 (non-exhaustive

   examples of citations to the Indictment or related documents in the Criminal Case); see also Gov’t

   Mot. to Intervene and Stay Civil Proceedings, ECF Dkt. Entry No. 134, at 4-5 (noting Civil Case

   plaintiffs’ reliance on allegations in Criminal Case).

          B.      Guilty Pleas and Trial

                  The guilty pleas of more than 20 individual defendants and three corporate entities

   have been made public during the course of the Criminal Case and the related investigation.

   Following a six-week trial in November and December 2017, Napout and Marin were convicted

   of racketeering conspiracy and related corruption offenses, including offenses directly related to

   the conduct at issue in the Civil Case. (Burga was acquitted of the lone count on which he was

   extradited to the United States but remains under indictment on four other charges.) Although

   Napout was the only party to the Civil Case who was tried in the Criminal Case, the testimony at



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   trial nevertheless implicated all of the parties to the Civil Case in possible criminal conduct,

   including GolTV (through its principal Francisco “Paco” Casal), certain of the Fox entities, Carlos

   Martinez, Hernan Lopez, James Ganley, T&T Sports Marketing Ltd. (“T&T”), Torneos, Alejandro

   Burzaco, Full Play Group, Confederacion Sudamericana de Futbol (“Conmebol”), Eugenio

   Figueredo, and Napout. See, e.g., United States v. Napout, et al., 15-CR-252, Trial Trans. 351,

   361-371 (Casal); 315 (Ganley); 498, 563, 566 (Lopez and Martinez); 253-254, 291, 310 (Fox);

   296 (T&T); 297 (Figueredo); 298, 329-330 (Napout); 378-390 (Full Play, Torneos, Conmebol,

   and Burzaco); see also FIFA Trial: Fox Sports Accused of Playing Role in Bribing Officials, The

   New         York          Times,         (Nov.        14,         2017)        available         at

   https://www.nytimes.com/2017/11/14/sports/soccer/fifa-trial-fox-sports.html.          The     trial

   testimony concerning the various parties to the Civil Case (some of whom had previously been

   implicated in charging instruments and other case-related filings) pre-dated the recent sets of

   discovery demands for presentation decks provided by cooperating entity Torneos and other

   sensitive materials (some of which demands have been withdrawn or deferred).

          C.      Protective Measures in the Criminal Case

                  Throughout the prosecution, the government has taken great care to limit the

   dissemination of certain materials produced to the defendants in the Criminal Case in an effort to

   protect the integrity of its ongoing investigation and the safety of witnesses. These measures,

   which were approved by the United States District Court for the Eastern District of New York,

   included a protective order, which (as amended and extended) limited dissemination of discovery

   and Jencks material beyond the defense teams. See Orders dated Jan. 28, 2016 and Sept. 19, 2017

   (E.D.N.Y.). Although the protective order was challenged during pretrial litigation, the District

   Court declined to lift its protections. For example, when defendant Napout moved to vacate or



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   modify the protective order, the District Court denied Napout’s motion, holding in relevant part

   that there was “‘good cause’ for continuing the Protective Order based on evidence proffered by

   the government regarding efforts to obstruct justice and tamper with witnesses and evidence by

   this Defendant and others, and the need to protect the government’s ongoing investigations . . . .”

   Order dated Sept. 20, 2017 (E.D.N.Y.). In two separate violations of the protective order, counsel

   for Napout filed on the public docket protected material, which the Court, upon motion of the

   government, promptly ordered stricken or removed from the docket. See Orders dated July 27,

   2017 and Oct. 27, 2017 (E.D.N.Y.).

                  Other protective measures taken by the Court in light of the need to protect the

   integrity of the government’s ongoing investigation and the safety of witnesses have included:

   granting motions to maintain certain filings and transcripts under seal, despite challenges from

   members of the national and international news media (see, e.g., Orders dated May 29, 2015, Apr.

   16, 2016 and Aug. 23, 2016); deferring disclosure of certain materials to the trial defendants (see,

   e.g., Order dated Apr. 11, 2017); granting the government’s motion for a limited unsealing order

   as to certain search warrants, which limited disclosure to specified counsel of record for the trial

   defendants and ordered that they “shall not remove, transfer, transmit, or travel with any of the

   WARRANTS in any form, including paper and electronic, to any location outside of the United

   States,” and prohibited counsel for the defendants from “communicating, disseminating, or

   sharing, orally or in writing, the substance of the WARRANTS to or with any third party” (Order

   dated Aug. 7, 2017); and granting, over defense objections, the government’s motion for a partially

   anonymous and semi-sequestered jury (Order dated Oct. 17, 2017), among other protective

   measures.




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          D.      Involvement of Torneos in the Criminal Case

                  On December 13, 2016, Torneos entered into a four-year deferred prosecution

   agreement (“DPA”) with the EDNY. See United States v. Torneos y Competencias S.A., No. 16-

   CR-634 (PKC) (E.D.N.Y. Dec. 13, 2016). In connection with the DPA, Torneos admitted its

   involvement and the involvement of several co-conspirators in, among other things, the conduct

   at issue in the Civil Case. As summarized in the DPA and referenced in a related press release

   issued by the EDNY, Torneos’s decision to begin cooperating with the government’s investigation

   immediately after the initial charges in the Criminal Case were unsealed was an important factor

   in the government’s decision to defer prosecution of the company. See DPA at 3-4 (noting

   relevant considerations, including cooperation); Press Release, Argentine Sports Marketing

   Company Admits to Role in International Soccer Bribery Conspiracy (Dec. 13, 2016) (noting

   “prompt and decisive actions” to cooperate after unsealing of charges), available at

   https://www.justice.gov/usao-edny/pr/argentine-sports-marketing-company-admits-role-

   international-soccer-bribery-conspiracy.

                  During the course of that cooperation, Torneos conducted a thorough internal

   investigation, provided documents and related information to the government, and made

   presentations to the government concerning relevant factual information, often with the aid of slide

   decks containing the analysis of attorneys for Torneos that were subsequently produced to the

   EDNY. Among other things, the presentations and the accompanying presentation decks and

   related material reflected responses to the government’s requests for information on particular

   areas of investigative interest, identified potential witnesses to, and participants in, criminal

   conduct, and provided analysis of underlying contracts and business records.




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   II.    The Government’s Intervention in the Civil Case

                  On May 25, 2017, the Court granted the government’s motion to intervene but

   denied its motion to stay the civil proceedings. ECF Dkt. No. 140 at 8. In granting the motion

   to intervene, the Court acknowledged the “substantial overlap” between the Civil and Criminal

   Cases and the fact that an indictment had already been returned in the Criminal Case. Rather than

   put the entire Civil Case on hold, the Court held that “[a]ny potential concerns regarding discovery

   are adequately addressed if the civil case proceeds as usual, but the Government is allowed to

   participate in the civil discovery process as needed to object to particular requests or request

   protective orders related to certain evidence.” Id.

   III.   The Government’s Participation in Discovery and the Current Dispute

          A.      Jurisdictional Discovery

                  The government has participated in the discovery process, pursuant to the order

   referenced above, in order to protect the interests at stake in the Criminal Case. Throughout the

   Civil Case, the government has acted sparingly in its role as intervener. The government appeared

   at hearings held before U.S. Magistrate Judge William C. Turnoff in June and July 2017 during

   the jurisdictional discovery phase of the case, see ECF Dkt. Nos. 164, 172, and 209; at an October

   11, 2017 hearing before Judge Cecilia M. Altonaga on the government’s motion to stay discovery

   pending completion of the criminal trial in United States v. Napout, et al., 15 CR 252 (S-2) (PKC),

   which Judge Altonaga granted in part, ordering a stay of deposition discovery until completion of

   the trial, see ECF Dkt. Nos. 258, 260; and, more recently, at the April 24, 2018 hearing before

   Your Honor regarding merits discovery, see ECF Dkt. No. 357.               At those hearings, the

   government raised narrow concerns regarding discovery in the Civil Case. In particular, the

   government made limited objections to certain discovery requests and certain anticipated lines of


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   deposition questioning seeking particular materials and information the disclosure of which could

   jeopardize the integrity of the government’s Criminal Case and ongoing grand jury investigation.

                  While the government has advanced limited objections in the course of the Civil

   Case, it has correspondingly noted extremely broad requests—by the plaintiffs and certain

   defendants—seeking information about the government’s witnesses and investigation. Some of

   the requests for production propounded by various parties in this litigation would go directly to

   the ongoing aspects of the government’s active grand jury investigation. For example, request

   numbers 23 and 15 from the Plaintiffs to Torneos and Napout, respectively, requested “[a]ll

   documents produced to, or received from . . . the [government] . . . in connection with any

   investigation or case involving Club Tournament Rights,” and request number 7 from the Fox

   entities to Napout requested “[a]ll documents and witness statements that . . . the United States

   provided or communicated to You concerning the Club Tournaments.”

          B.      The Current Dispute

                  The government has limited its objections to demands for documents the production

   of which is not proportional to the needs of the case in light of the government’s interests in

   protecting its ongoing investigation. After meeting and conferring with counsel for the plaintiffs,

   Torneos, and Napout, the government understands that the issues in dispute have been narrowed

   substantially. The government’s remaining objection (apart from issues that have been deferred

   with the agreement of the requesting party 4) is limited to the plaintiffs’ request for presentation

   decks and other materials prepared by Torneos’s counsel and produced by Torneos to the


          4
             In addition to the deferral of resolution of the dispute over request 7 by the Fox entities,
   among other things, the government understands that plaintiffs and counsel for Napout have agreed
   to seek resolution of Napout’s Fifth Amendment objection to production of certain materials,
   including materials produced to Napout in the Criminal Case pursuant to Rule 16, before pressing
   their dispute as to whether the documents are otherwise discoverable given the protective order in
   place in the Criminal Case and other concerns. The parties will continue to meet and confer on
   how to proceed should the Court reject Napout’s Fifth Amendment arguments, without prejudice
   to the parties’ ability to bring any further disagreement to the Court.


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   government in connection with the government’s investigation to the extent the materials are

   relevant to the Club Tournaments.

                                            ARGUMENT

                  The Court should sustain the government’s objection to plaintiffs’ demand for

   production of the specified documents because disclosure of the documents at issue would present

   significant risks to the government’s ongoing prosecution and investigation in the Criminal Case,

   including by revealing information about the government’s ongoing investigation and chilling the

   continuing cooperation of Torneos and other individuals and entities currently in a cooperative

   posture with the government or who may decide to cooperate in the future.

   I.     Applicable Law

                  District courts have broad discretion to manage and limit civil discovery. See

   Chrysler Int’l Corp. v. Chemaly, 280 F.3d 1358, 1360 (11th Cir. 2002) (court’s discretion

   regarding discovery management “is and must be broad”); Johnson v. Bd. of Regents of Univ. of

   Georgia, 263 F.3d 1234, 1269 (11th Cir. 2001) (“[W]e accord district courts broad discretion over

   the management of pre-trial activities, including discovery and scheduling.”); Farnsworth v.

   Procter & Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985) (“The trial court . . . is given wide

   discretion in setting the limits of discovery . . . .”). This includes determining the appropriate

   scope of discovery. Id. “[T]he court can exercise its discretion to manage the civil litigation to

   avoid interference with the criminal case.” Degen v. United States, 517 U.S. 820, 827 (1996).

                  At its most basic, information sought in civil discovery must be relevant. Fed. R.

   Civ. Pro. 26(b)(1); Am. Gen. Life Ins. Co. v. Azurin, No. 14-62234-CIV, 2016 WL 7508086, at

   *1 (S.D. Fla. Feb. 2, 2016); SEC v. BankAtlantic, Inc., 285 F.R.D. 661, 665-66 (S.D. Fla. 2012).

   “[W]hen relevancy is not apparent, the burden is on the party seeking discovery to show the

   relevancy of the discovery request.” Am. Fed’n of State, Cty. & Mun. Employees Council 79 v.



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   Scott, 277 F.R.D. 474, 477 (S.D. Fla. 2011) (citing Dean v. Anderson, 2002 WL 1377729, at *2

   (D. Kan. June 6, 2002)).

                  Even when information sought in discovery is facially relevant, however, the scope

   of discovery must be “proportional to the needs of the case, considering the importance of the

   issues at stake in the action, the amount in controversy, the parties’ relative access to relevant

   information, the parties’ resources, the importance of the discovery in resolving the issues, and

   whether the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R.

   Civ. Pro. 26(b)(1). To that end, courts will cabin discovery of relevant evidence where it “is of

   such marginal relevance that the potential harm occasioned by discovery would far outweigh the

   ordinary presumption in favor of broad disclosure.” Milinazzo v. State Farm Ins. Co., 247 F.R.D.

   691, 695 (S.D. Fla. 2007); see Farnsworth v. Procter & Gamble Co., 758 F.2d 1545, 1547 (11th

   Cir. 1985) (affirming district court’s decision that the Center for Disease Control’s interests in

   keeping its study participants’ names confidential outweighed the discovery interests of defendant

   in toxic shock syndrome litigation).

                  Courts have long recognized that preserving the integrity of an ongoing criminal

   investigation is a paramount consideration in limiting civil discovery. See, e.g., Degen, 517 U.S.

   at 827 (in case where party defended civil forfeiture action but refused to appear in criminal action,

   “if, for instance, the [g]overnment were unable to rebut [the party’s] arguments [in the civil case]

   except by revealing confidential details of the criminal investigation, the court could consider

   controlling or limiting the form of proof, or in an extreme case even the theories it permits [the

   party] to pursue, to prevent him from exploiting the asymmetries he creates . . .”); Campbell v.

   Eastland, 307 F.2d 478, 487 (5th Cir. 1962) (“A trial judge should give substantial weight to [the

   policy giving priority to the public interest in law enforcement] in balancing the policy against the



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   right of a civil litigant to a reasonably prompt determination of his civil claims or liabilities.”).

                   It is longstanding precedent in this Circuit that “[a] litigant should not be allowed

   to make use of the liberal discovery procedures applicable to a civil suit as a dodge to avoid the

   restrictions on criminal discovery and thereby obtain documents he would not otherwise be entitled

   to for use in his criminal suit.” Id. at 487; see also Fed. Trade Comm’n v. Mail Tree Inc., No. 15-

   61034-CIV, 2016 WL 3950034, at *2 (S.D. Fla. Feb. 29, 2016) (“the public has an interest in

   ensuring the criminal discovery process is not subverted” (internal quotation marks omitted)); SEC

   v. Chestman, 861 F.2d 49, 50 (2d Cir. 1988) (recognizing that the government has “a discernible

   interest in intervening in order to prevent discovery in [a] civil case from being used to circumvent

   the more limited scope of discovery [available] in [a] criminal matter.”).

                     Moreover, “[u]nder federal common law, there is a qualified privilege which

   protects disclosure of information contained in criminal investigations.” White v. City of Fort

   Lauderdale, 2009 WL 1298353, at *2 (S.D. Fla. May 8, 2009). This privilege is designed “to

   prevent disclosure of law enforcement techniques and procedures, to preserve confidentiality of

   sources, to protect witness and law enforcement personnel, to safeguard the privacy of individuals

   involved in an investigation, and otherwise to prevent interference with an investigation.” In re

   Dep’t of Investigation of City of New York, 856 F.2d 481, 484 (2d Cir. 1988); see United States

   v. Van Horn, 789 F.2d 1492, 1507 (11th Cir. 1986) (“We recognize a qualified government

   privilege not to disclose sensitive investigative techniques.”); In re Matter of Eisenberg, 654 F.2d

   1107, 1110 n.5 (5th Cir. 1981) (recognizing the federal privilege for production of documents

   relating to ongoing criminal investigations); Brown v. Thompson, 430 F.2d 1214, 1215 (5th Cir.

   1970) (deeming files in open homicide investigation to be privileged and not subject to civil

   discovery); Swanner v. United States, 406 F.2d 716, 719 (5th Cir. 1969) (the “pendency of a



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   criminal investigation is a reason for denying discovery of investigative reports” in civil litigation).

   There is a “strong presumption” against lifting the privilege. Dellwood Farms, Inc. v. Cargill,

   Inc., 128 F.3d 1122, 1125 (7th Cir. 1997) (citing Black v. Sheraton Corp., 564 F.2d 531, 545-47

   (D.C. Cir. 1977)). Moreover, “[t]he claim for application of the privilege is ‘somewhat stronger’

   when law enforcement is seeking to protect ongoing investigations as contrasted with closed

   files[.]” Vodak v. City of Chicago, 2004 WL 2032147, at *4 (N.D. Ill. 2004) (citing G-69 v.

   Degnan, 130 F.R.D. 326, 332 (D.N.J. 1990)).

                  Because the privilege is qualified, “a court must balance the government’s interest

   in confidentiality against the litigant’s need for information.” JTR Enterprises, LLC v. An

   Unknown Quantity of Colombian Emeralds, Amethysts & Quartz Crystals, 297 F.R.D. 522, 529

   (S.D. Fla. 2013). The privilege only may be overridden by the litigant’s “substantial need for the

   documents and its inability to obtain their substantial equivalent by other means.” United States

   v. Davis, 131 F.R.D. 391, 395 (S.D.N.Y. 1990) (citing In re Department of Investigation, 856 F.2d

   481, 484 (2d Cir. 1988)); see also Friedman v. Bache Halsey Stuart Shields, Inc., 738 F.2d 1336,

   1341 (D.C. Cir. 1984); In re M & L Bus. Mach. Co., Inc., 161 B.R. 689, 693 (D. Colo. 1993).

   The government’s need for confidentiality can involve witness safety, see, e.g., United States v.

   Any & All Funds on deposit at JPMorgan Chase, No. 12 CIV. 7530 GBD, 2013 WL 5511348, at

   *4 (S.D.N.Y. Oct. 2, 2013), keeping investigative information out of the hands of criminal targets

   or subjects who will attempt to use “civil discovery to combat the criminal investigation and future

   prosecution,” Eastwood Enterprises, LLC v. Farha, No. 8:07-CV-1940-T, 2010 WL 2836719, at

   *2 (M.D. Fla. July 19, 2010), and a desire not to chill witness cooperation, see, e.g., Martinez v.

   Fuentes, No. CV 15-2932 (BRM), 2017 WL 2345703, at *4 (D.N.J. May 30, 2017). “In the end,

   society’s interest in the assiduous prosecution of criminal wrongdoing almost always will



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   outweigh its interest in the resolution of a civil matter between private parties.” In re Grand Jury

   Subpoena, 138 F.3d 442, 445 (1st Cir. 1998) (citing Nixon v. Fitzgerald, 457 U.S. 731, 754 n.37

   (1982)).

                  The court’s handling of this issue in State Comp. Ins. Fund v. Drobot, No.

   SACV130956AGCWX, 2016 WL 3546583, at *1 (C.D. Cal. Feb. 29, 2016), is informative.

   There, the plaintiff sued a number of defendants related to a complex healthcare kickback scheme.

   Id. The United States Attorney’s Office and Federal Bureau of Investigation were pursuing an

   ongoing grand jury investigation into the same conduct. Id. In the heat of civil discovery, certain

   defendants requested that third parties or fellow co-defendants produce documents and

   communications exchanged with the United States Attorney’s Office relating to the criminal case.

   Id. The government intervened in the case and argued that the discovery requests, which sought

   “disclosure of confidential information regarding the government’s investigation,” were protected

   from disclosure by the law enforcement privilege, of marginal relevance, and duplicative of

   underlying historical documents that were already being produced. Id. The court granted the

   government’s motion, adopting the government’s key point that permitting civil litigants to

   “discover[] ‘details of communications between cooperating witnesses and the government could

   reveal information on the status and direction of the investigation, as well as the existence and

   location of potential evidence and other witnesses, which would provide the defendants or other

   interested parties with the opportunity to obstruct the investigation by tampering with witnesses

   and concealing or destroying evidence.’” Id. at *4. Moreover, the court recognized that the

   discovery requests regarding cooperators’ communications with the government were of marginal

   or no relevance “when [d]efendants are free to demand the underlying documents that may have

   [been] exchanged with the government.” Id.



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   II.    The Government’s Objection to the Plaintiffs’ Request Should be Sustained

                  A.      Plaintiffs’ Request for Presentations By Torneos

                  Plaintiffs have demanded that civil defendant Torneos produce presentation

   materials provided to the government during the course of Torneos’s cooperation with the

   government’s ongoing investigation. The government understands that the underlying business

   records and documents referenced in and used in preparation of the presentation decks and related

   material have been or will be produced. Accordingly, the government’s objection is directed at

   plaintiffs’ demand for access to analysis and evaluation of the underlying documents prepared at

   the request of the government during its ongoing investigation. The government objects on the

   ground that the request seeks information of marginal, if any, relevance to the claims at issue in

   the Civil Case, given that the underlying records have been produced, and the disclosure of which

   would undermine important law enforcement interests.

                  B.      Relevance

                  Because plaintiffs have received, or will receive, the underlying documents, the

   presentation materials are not relevant to any claim or defense in this case. The government

   endorses Torneos’s argument on this point and notes further that although a broad interpretation

   of relevance may be appropriate in most instances, here, given the law enforcement interest

   discussed below, the Court should require strict adherence to the requirement of relevance.

                  The materials at issue here cannot meet the applicable standard that they be

   “proportional to the needs of the case considering the importance of the issues at stake in the action,

   the amount in controversy, the parties’ relative access to relevant information, the parties’

   resources, the importance of the discovery in resolving the issues, and whether the burden or

   expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. Pro. 26(b)(1). That

   plaintiffs’ request is disproportionate to the needs of the case, and that plaintiffs have no real need

   for the requested documents at all, is highlighted by their inability thus far to “show the relevancy



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   of the discovery request.” Am. Fed’n of State, Cty. & Mun. Employees Council 79, 277 F.R.D.

   at 477. Throughout the meet and confer process and at the April 24, 2018 hearing, the government

   has repeatedly asked the plaintiffs to articulate the basis of relevance for the disputed presentation

   materials, and has received variations of the tautological response that if the presentations involve

   the Club Tournaments, they must be relevant. This is indicative of an impermissible fishing

   expedition and is inconsistent with the applicable legal standard for relevance.

                  C.      Effect on Investigation

                  Even if the requested presentations were independently relevant, which they are

   not, the law enforcement interests at stake are significant and support the government’s objection.

   Disclosure of the documents would undermine aspects of the government’s ongoing investigation

   by revealing the government’s interest in particular individuals, entities, and events. These risks

   are precisely why courts in this Circuit have long recognized a qualified law enforcement privilege.

   See, e.g., White, 2009 WL 1298353, at *2; Van Horn, 789 F.2d at 1507; In re Matter of Eisenberg,

   654 F.2d at 1110 n.5; Brown v. Thompson, 430 F.2d at 1215; Swanner v. United States, 406 F.2d

   at 719.

                  Like in Drobot, in which the court precluded discovery seeking information about

   an ongoing government investigation that related to the issues in the civil case, here, “details of

   communications between cooperating witnesses and the government could reveal information on

   the status and direction of the investigation, as well as the existence and location of potential

   evidence and other witnesses . . . .” 2016 WL 3546583, at *4. The presentation decks and related

   material at issue include information assembled at the request of the government, including

   analysis of contractual relationships, identities of potential witnesses, identities of potential

   subjects of investigation, and the evolution of the government’s investigative focus over time. To

   give one example,




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                  These documents are plainly revealing of the government’s inquiries, thought

   processes, and focuses in its ongoing grand jury investigation. Protecting these from disclosure

   on an ongoing basis—particularly from uncharged parties who were criminally implicated in

   sworn trial testimony and may have an interest in “mak[ing] use of the liberal discovery procedures

   applicable to a civil suit as a dodge to avoid the restrictions on criminal discovery and thereby

   obtain documents [they] would not otherwise be entitled to,” Campbell, 307 F.2d at 487—is of

   paramount importance given the ongoing witness safety concerns and efforts to obstruct justice

   and tamper with witnesses that were repeatedly recognized by Judge Chen in the Criminal Case.

   By contrast, the plaintiffs have failed to show a “substantial need for the documents and [their]

   inability to obtain their substantial equivalent by other means,” which is required for them to

   overcome the qualified privilege.       Davis, 131 F.R.D. at 395 (citing In re Department of

   Investigation, 856 F.2d at 484).      Because the plaintiffs are receiving all of the underlying

   documents, there is no need to disclose to them presentation compilations that would provide

   insight into the government’s ongoing investigation, much less the “substantial need” required to

   overcome such a hurdle. Id.

                  Beyond the effect of disclosing the particular information, a ruling that such

   information is generally available to civil litigants presents the risk of chilling cooperative conduct

   that the law should incentivize. Indeed, the government is already reluctant to request documents

   or detailed presentations going forward for fear that such presentations will be sought by litigants

   in the Civil Case now or going forward. This is having a real effect on the ongoing investigation.



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   Plaintiffs are not the only party to have expressed an interest in the documents, and it is not clear

   to the government where alliances may be formed among parties in the Civil Case as they consider

   their interests, if any, in connection with the Criminal Case.

                                             CONCLUSION

                  For the foregoing reasons, the government respectfully requests that its objection

   to the plaintiffs discovery request be sustained.

   Dated:         Brooklyn, New York
                  May 15, 2018

                                                            Respectfully submitted,

                                                            RANDY HUMMEL
                                                            Attorney for the United States, Acting Under
                                                            Authority Conferred by 28 U.S.C. § 515.
                                                            Southern District of Florida

                                                 By:         /s/
                                                            Samuel P. Nitze
                                                            Special Assistant United States Attorney
                                                            Special Florida Bar ID No. A5502327
                                                            271 Cadman Plaza East
                                                            Brooklyn, New York 11201
                                                            Tel: (718) 254-6465
                                                            Fax: (718) 254-6320
                                                            samuel.nitze@usdoj.gov

                                                            M. Kristin Mace
                                                            Special Assistant United States Attorney
                                                            Special Florida Bar ID No. A5502326
                                                            271 Cadman Plaza East
                                                            Brooklyn, New York 11201
                                                            Tel: (718) 254-6879
                                                            Fax: (718) 254-6478
                                                            kristin.mace@usdoj.gov

                                                            Patrick T. Hein
                                                            Special Assistant United States Attorney
                                                            Special Florida Bar ID No. A5502324
                                                            271 Cadman Plaza East
                                                            Brooklyn, New York 11201



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                                             Tel: (718) 254-6284
                                             Fax: (718) 254-7499
                                             patrick.hein@usdoj.gov

                                             Kaitlin T. Farrell
                                             Special Assistant United States Attorney
                                             Special Florida Bar ID No. A5502446
                                             271 Cadman Plaza East
                                             Brooklyn, New York 11201
                                             Tel: (718) 254-6072
                                             Fax: (718) 254-6320
                                             kaitlin.farrell@usdoj.gov




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                                   CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that a true and correct copy of the foregoing was
    electronically filed with the Clerk of Court using CM/ECF on the 15th day of May, 2018.

                                                       /s/
                                                      Kaitlin T. Farrell
                                                      Special Assistant United States Attorney




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